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    Beware: You never have to pay for help with your student loans.
    Make sure you understand which companies and claims are legitimate.




     Borrowers have reported receiving phone calls, emails, letters, and/or texts offering them
     relief from their federal student loans or warning them that student loan forgiveness
     programs would end soon. Usually, the so-called student loan debt relief companies
     offering these types of services don’t offer any relief at all. Often they’re just fraudsters
     who are after your money.

     Here are some examples of the false claims made in these communications:

            “Act immediately to qualify for student loan forgiveness before the program is discontinued.”

            “You are now eligible to receive benefits from a recent law that has passed regarding federal student
            loans, including total forgiveness in some circumstances. Federal student loan programs may
            change. Please call within 30 days of receiving this notice.”

            “Your student loans may qualify for complete discharge. Enrollments are first come, first served.”

            “Student alerts: Your student loan is flagged for forgiveness pending verification. Call now!”


     Communications using this type of aggressive advertising to lure borrowers are NOT
     coming from the U.S. Department of Education (ED) or its partners.

     Here’s what you should know: there’s nothing a student loan debt relief company can do
     for you that you can’t do yourself for free. At no cost, ED and our federal loan servicers can
     help you

            lower or cap your monthly federal student loan payment;

            consolidate your federal loans;

            determine if you are eligible for loan forgiveness or other programs; and


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            get your loans out of default.




            Some of these companies have used the change in administration as a marketing
            tactic to lure borrowers, making claims such as “Act now! Obama loan forgiveness
            is going away!” ED’s loan forgiveness programs, such as the Public Service Loan
            Forgiveness Program, are still available, and you can apply for FREE. ED never
            charges application or maintenance fees, so if you’re asked to pay, walk away.




        What are student loan debt relief companies?
        How do student loan debt relief companies target federal student loan borrowers?
        Is there a list of student loan debt relief companies that the government has taken action against?
        How do I identify a student loan scam?
        What do I do if I’ve already shared my information or paid one of these student loan debt relief companies?
             How do I change my FSA ID password?
        Are there legitimate private companies that ED works with?
        Where can I go for free help?

     What are student loan debt relief companies?

     Student loan debt relief companies are private companies that provide (or claim to
     provide) student loan management services for a fee. Often these companies are charging
     for services you can easily manage yourself. They will say they can help reduce your
     monthly payment or get your loans forgiven, but after you pay, you might be worse off. You
     might not get the promised help or your money back, and the company may have made
     changes to your loan repayment plan that you didn’t authorize or want. If you stopped
     paying your loans, your credit could be damaged and your loan balances could balloon.

     The tricky part is that, although these companies are not affiliated with ED, they sometimes
     claim to be. In their communications, these companies will claim to “work with the U.S.
     Department of Education” or claim to be “consumer advocacy groups.” Remember: ED and
     our federal loan servicers will never charge fees to help borrowers with their student
     loans. If you’re asked to pay an up-front or maintenance fee, you’re not dealing with ED, so
     do not share your information.




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     If you’re not sure whether you can trust a company that contacts you, refer to this list of
     trusted companies that work with ED to provide student loan services.

     How do student loan debt relief companies target federal student loan
     borrowers?

     Some borrowers have reported receiving phone calls, emails, letters, and/or texts offering
     them relief from their federal student loans. Student loan debt relief companies have also
     aggressively advertised on TV, online, in print, and through various other channels. In an
     effort to appear legitimate, some of these companies may even include your loan balance
     information in their communications. Always be sure to verify the source. If the
     communication didn’t come from ED or one of our partners, it should not be trusted.

     Is there a list of student loan debt relief companies that the government has
     taken action against?

     The Federal Trade Commission (FTC) and other government entities have taken action
     against many of these companies. View the FTC’s list of companies and people banned from
     debt relief.

     The problem is, many student loan debt relief companies operate under many different
     names and use many different phone numbers to avoid detection. Some even go as far as to
     reopen under different names after being sued or shut down. That’s why it’s important that
     you consult our list of trusted partners, and take steps to avoid these scams.

     How do I identify a student loan scam?

     Here are some signs to help you identify a scam by a student loan debt relief company:

            They require you to pay up-front or monthly fees for help. It is illegal to charge an up-front fee
            for this type of service, so if a company requires a fee before they actually do anything, that’s a huge
            red flag—especially if they try to get your credit card number or bank account information. In some
            cases, they may even step in and ask you to pay them directly, promising to pay your servicer each
            month when your bill comes due. Free assistance is available through your federal loan servicer.

            They promise immediate and total loan forgiveness or cancellation. No one can promise
            immediate and total loan forgiveness or cancellation. Most government forgiveness programs
            require many years of qualifying payments and/or employment in certain fields before your loans
            can be forgiven. Also, student loan debt relief companies do not have the ability to negotiate with
            your federal loan servicer for a “special deal” under the federal student loan programs. Payment
            levels under income-driven payment plans are set by federal law.

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            They ask for your FSA ID. ED or its partners will never ask you for your FSA ID password. Your FSA
            ID is used to sign legally binding documents electronically. It has the same legal status as a written
            signature. Do not give your FSA ID password to anyone or allow anyone to create an FSA ID for you.
            If a company has access to your FSA ID information, they can make changes to your account without
            your permission.

            They ask you to sign and submit a third-party authorization form or a power of attorney. These
            are written agreements giving the third party legal permission to talk directly to your federal loan
            servicer and make decisions on your behalf. Debt relief companies often want these authorizations
            so that they can change your account and contact information, so you don’t realize that they aren’t
            actually paying your monthly student loan bill.

            They claim that their offer is limited and encourage you to act immediately. Student loan debt
            relief companies often try to instill a sense of urgency by citing “new laws” or discontinuing
            programs as a way to encourage borrowers to contact them immediately. While there are some
            deadlines you need to meet in regards to your student loans—for instance, if you’re paying under an
            income-driven repayment plan, you need to recertify annually—our programs are limited only by
            the eligibility requirements.

            Their communications contain spelling and grammatical errors. While many of the
            communications sent out by these companies look very formal (for example, fold-and-tear letters
            with safety patterns), they often contain spelling and grammatical errors. If you notice unusual
            capitalization, improper grammar, or incomplete sentences in the communication you receive, that’s
            likely a red flag that the company is not affiliated with ED.

     For more signs on identifying a student loan scam, visit the Federal Trade Commission’s
     website.

     What do I do if I’ve already shared my information or paid one of these student
     loan debt relief companies?

     You need to complete the following tasks:

            Log in and change your FSA ID. Do NOT share your new FSA ID password with anyone!

            Contact your federal loan servicer to revoke any power of attorney or third-party authorization
            agreement that your servicer has on file. You should also make sure no unwanted actions were
            taken on your loans.

            Contact your bank or credit card company, and request that payments to the company be stopped.

            File a complaint with the FTC.

            File a report of suspicious activity through the Federal Student Aid Feedback System.

     How do I change my FSA ID password?
     Go to the “Manage My FSA ID” tab on the FSA ID site and log in using your username and
     password. Once logged in, click the “Change My Password” link. You’ll be prompted to

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     enter your current password and choose a new password. Be sure to keep track of your
     new password and do not share it with anyone! If someone has access to your FSA ID
     information, they can make changes to your account without your permission.

     If you cannot log in because you do not know your current username and/or password, go
     to the “Manage My FSA ID” tab on the FSA ID site and click “Forgot My Username” or
     “Forgot My Password” to retrieve it.

     Note: To retrieve your username or password, you’ll either need to have a code sent to your
     mobile phone or your email address, or you’ll need to answer your challenge questions. If a
     student loan debt relief company had access to your FSA ID, it’s possible that they may have
     changed the email address or phone number associated with your account. If you don’t
     have access to or haven’t verified the mobile phone number or email address associated
     with your FSA ID, and you don’t know the answers to your challenge questions, you will
     have to contact the Federal Student Aid Information Center. An agent will walk you
     through self-service options. If that does not resolve the situation, you will go through the
     FSA ID verification process. You’ll send in copies of identification, and the email address on
     your account will reset to one you can access. This process takes 7–10 days from the point
     at which you send in your documentation.

     Are there legitimate private companies that ED works with?

     Yes. There are private companies (lenders, servicers
                                                servicers, and private collection agencies) that
     work on behalf of ED.

     ED contracts with loan servicers who handle the billing and other services on your federal
     student loans. Your federal loan servicer will work with you on repayment plans and loan
     consolidation and will assist you with other tasks related to your federal student loan. Find
     a list of our loan servicers here. If you’re not sure who your loan servicer is, log in to “My
     Federal Student Aid” to find contact information for the loan servicer or lender for your
     federal student loans.

     ED also works with private collection agencies (PCAs) to get federal student loan borrowers
     out of default and ensure defaulted borrowers are aware of their options. Here's a list of
     PCAs that work with ED. If you’re in default, please contact ED’s Default Resolution Group
     for personalized assistance at 1-800-621-3115.

     These lenders, servicers,
                    servicers and PCAs are affiliated with ED and can be trusted, so you should
     contact them if you need assistance.


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     Where can I go for free help?

     If you have questions or need help with your student loans, contact your loan servicer or
     lender for FREE assistance.


  Quick Links
      Understanding Repayment
      Repayment Plans
      Income-Driven Plans
      Forgiveness, Cancellation, and Discharge




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